 Case 2:11-cv-00084 Document 1582 Filed on 06/05/24 in TXSD Page 1 of 1




                        UNITED STATES OF AMERICA
                       SOUTHERN DISTRICT OF TEXAS
                         CORPUS CHRISTI DIVISION
               M.D., et al                                                 REVISED NOTICE OF SETTING


                      V.

             ABBOTT, et al                                                         CA-C-11-84




                    YOU ARE HEREBY DIRECTED TO APPEAR BEFORE:



                                   JUDGE JANIS GRAHAM JACK

                                                      via Zoom


                                        for a Status Conference


                        on THURSDAY, SEPTEMBER 19, 2024 at

                                               8:30 A.M. CST


Join ZoomGov Meeting:
https://www.zoomgov.com/j/1617936798?pwd=UDVDUm1NVG1ndVJ3alhkOCsxWEg3QT09 ;
Meeting ID: 161 793 6798; Passcode: 559163.




  NOTE: Persons with remote access to hearings are reminded of the general prohibition against photographing,
  recording, and rebroadcasting of court proceedings. Violation of these prohibitions may result in sanctions, including
  removal of court issued media credentials, restricted entry to future hearings, denial of entry to future hearings, or any
  other sanctions deemed necessary by the court.
